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                                 Attachment 4

                     Item 11: Corporate Ownership Statement
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                         11 Statement of Corporate Ownership Pg 2 of 4



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Brett M. Neve (pro hac vice pending)                       Nima H. Mohebbi (pro hac vice pending)
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Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 15

    Three Arrows Capital, Ltd, 1                              Case No. 22-__________ ( )

              Debtor in a Foreign Proceeding.


                       CORPORATE OWNERSHIP STATEMENT
                   OF THREE ARROWS CAPITAL, LTD PURSUANT TO
             BANKRUPTCY RULES 1007(a)(4) AND 7007.1 AND LOCAL RULE 1007-3

             Russell Crumpler and Christopher Farmer, in their joint capacities as the duly authorized

foreign representatives (the “Foreign Representatives”) of Three Arrows Capital, Ltd (the

“Debtor”), which is the subject of insolvency proceedings (the “BVI Proceeding”) currently

pending in the British Virgin Islands (“BVI”) before the Eastern Caribbean Supreme Court in the

High Court of Justice Virgin Islands (Commercial Division) (the “BVI Court”) and captioned as

In re Three Arrows Capital Limited, Case No. BVIHCOM2022/0119 (June 27, 2022), hereby file



1
    The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location of
    the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British Virgin
    Islands.
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the corporate ownership information required by Rules 1007(a)(4) and 7007.1 of the Federal Rules

of Bankruptcy Procedure and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District

of New York.

          After conducting a good-faith inquiry, the Foreign Representatives are aware of the

following corporations, other than governmental units, that directly or indirectly own ten percent

(10%) or more of any class of the Debtor’s equity interests and the Foreign Representatives have

not received any notification otherwise that would lead them to believe that the same is not true as

of the date of this schedule except as specifically described herein: Three Arrows Capital Pte. Ltd.

is the registered holder of 100 management shares of the Debtor’s equity interest, representing

one-hundred percent (100%) of the voting equity. 2


                                 [Remainder of Page Intentionally Left Blank]




2
    The Foreign Representatives are aware that the Debtor also has several classes of non-voting equity interests. The
    Foreign Representatives are not aware of any corporation that directly or indirectly owns ten percent (10%) or more
    of any of the non-voting classes of the Debtor’s equity interests.


                                                           2
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Dated: July 1, 2022                  Respectfully submitted,
       New York, New York
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                                     Nacif Taousse
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                                     – and –

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                                     Counsel to the Foreign Representatives




                                       3
